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                                                                                                       Form 8

FORM 8. Entry of Appearance

   UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
                  Soverain Software, LLC             v. Newegg Inc.                                                           ......
                  -------------------------                                                                         - ;,_'
                                                No. 2011-1009
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                                      ENTRY OF APPEARANCE
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  (INSTRUCTIONS: Counsel should refer to Federal Circuit Rules 47.3. Pro se p~titi6rrer~and ... :.;:...~
  appellants should read paragraphs 1 and 18 of the Guide for Pro Se Petitioners and Appellants.
  File this form with the clerk within 14 days of the date of docketing and serve a copy of it on the
  principal attorney for each party.)
  Please enter my appearance (select one):
           c=:JPro Se                I ./ lAs counsel for:       Newegg Inc.
                                                                 Name of party
  I am, or the party I represent is (select one):
           c=:JPetitioner c=:JRespondent c=:JAmicus curiae c=:Jcross Appellant
           I ./    !Appellant c=:JAppellee           c=:Jintervenor                                    FILED
  As amicus curiae or intervenor, this party supports (select one):                         U.S. COURT OF APCP Ac~iOR
                                                                                               THE FEDERAL
           c=:JPetitioner or appellant        c=:JRespondent or appellee
  My address and telephone are:
        Name:                 Claudia Wilson Frost
         Law firm:            Pillsbury Winthrop Shaw Pittman LLP
        Address:              909 Fannin, Suite 2000
         City, State and ZIP: Houston, TX 77010-1018
        Telephone:            (713) 276-7648
         Fax#:                (713) 276-7673
         E-mail address:      claudia.frost@pillsburylaw.com
  Statement to be completed by counsel only (select one):
           c=J I am the principal attorney for this party in this case and will accept all service
           for the party. I agree to inform all other counsel in this case of the matters
           served upon me.
           c=:J I am replacing                    as the principal attorney who will/will not
           remain on the case. [Government attorneys only.]
           c:z:J I am not the principal attorney for this party in this case.
  Date admitted to Federal Circuit bar (counsel only): February 2, 1999
  This is my first appearance before the United States Court of Appeals for the Federal Circuit
  (counsel only):
           c=:JYes         I ./ INo
  CJA courtroom accessible to the handicape

   /'0   av lr
        IJ)lfte
                    tl

  cc:

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